Case 1:18-cv-00950-PTG-JFA Document 95-4 Filed 02/01/19 Page 1 of 17 PageID# 2309




          Exhibit D
Case 1:18-cv-00950-PTG-JFA Document 95-4 Filed 02/01/19 Page 2 of 17 PageID# 2310




                               UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

         Plaintiffs,
                                                           Case No. 1:18-cv-00950-LO-JFA
v.

COX COMMUNICATIONS, INC., et al.,

         Defendants.



        COX’S OBJECTIONS AND RESPONSES TO PLAINTIFFS’ SECOND SET OF
     REQUESTS FOR PRODUCTION OF DOCUMENTS AND THINGS TO DEFENDANTS


            PROPOUNDING PARTIES: PLAINTIFFS

            RESPONDING PARTIES: Defendants Cox Communications, Inc. and CoxCom LLC

            SET NUMBER: TWO (NOS. 1-10 [67-76])

            In accordance with Rules 26 and 34 of the Federal Rules of Civil Procedure and Civil

     Local Rule 26(b) and (c), Defendants Cox Communications, Inc. and CoxCom LLC (collectively,

     “Cox”) respond to Plaintiffs’ Second Set of Requests for Production of Documents and Things

     as follows. Cox’s responses are made solely for the purposes of this litigation. Cox’s responses

     are based upon a reasonable search, given the time allotted to respond to the requests, of facilities

     and files that could reasonably be expected to contain responsive information, and inquiries of

     Cox’s employees and/or representatives who could reasonably be expected to possess responsive

     information. Cox’s investigation into the facts of this case is ongoing and not yet completed, and

     Cox reserves the right to supplement or amend its responses and objections to the extent allowed

     by the Federal Rules of Civil Procedure, the Local Rules, and the orders of this Court.


                                                       1
Case 1:18-cv-00950-PTG-JFA Document 95-4 Filed 02/01/19 Page 3 of 17 PageID# 2311




                                  COX’S GENERAL OBJECTIONS

          1.     Cox objects to the requests to the extent that they call for extensive electronic

  production as overly broad, unduly burdensome, and oppressive. Where appropriate, Cox reserves

  the right to seek cost-shifting for costs associated with electronic production of data stored in

  inaccessible or difficult or costly to access formats, and where otherwise appropriate.

          2.     Cox objects to Plaintiffs’ Definitions and Instructions to the extent they purport to

  impose any requirement or discovery obligation on Cox other than those set forth in the Federal

  Rules of Civil Procedure and the applicable rules of this Court, and to the extent they purport to

  require Cox to object, respond, or produce documents before the time provided by the Federal

  Rules of Civil Procedure, the Local Rules, and the applicable rules of this Court. Given the breadth

  and scope of the requests, Cox will produce non-objectionable responsive documents on a rolling

  basis, beginning within 30 days of service of the requests.

          3.     Cox objects to the definition of the term “MarkMonitor” as overbroad and unduly

  burdensome, and as vague and ambiguous, because Cox lacks knowledge of the “parents,

  subsidiaries, affiliates, officers, directors, agents, consultants, employees, attorneys and

  accountants, and/or any other person or entity currently or previously acting or purporting to act

  on [the] behalf” of the identified entities.

          4.     Cox objects to the definition of the term “Infringement Notice” as vague and

  ambiguous, as argumentative, as improperly incorporating a legal conclusion, and as requiring

  Cox to speculate as to the existence and ownership of unidentified copyrights, and as to whether a

  particular notification was made “pursuant to” the DMCA.

          5.     Cox objects to the definition of the terms “person” or “persons” as overbroad and

  unduly burdensome, vague, and ambiguous, in particular to the extent that it purports to require




                                                   2
Case 1:18-cv-00950-PTG-JFA Document 95-4 Filed 02/01/19 Page 4 of 17 PageID# 2312




  Cox to collect or produce documents from a “person’s successors, assigns, personal

  representatives, and heirs, by operation of law or otherwise.”

         6.     Cox objects to Plaintiffs’ instruction concerning privileged information, documents,

  or communications, to the extent that instruction purports to impose any requirement or discovery

  obligation on Cox other than those set forth in the Federal Rules of Civil Procedure and the

  applicable rules of this Court.

         7.     Cox objects to Plaintiffs’ attempt to define the default “relevant time frame” of these

  requests as spanning the period from January 1, 2010 through December 31, 2014. Plaintiffs have

  expressly limited the time period of their claims in this litigation to the period between February

  2013 and November 2014 (“Plaintiffs’ Claim Period”).

                  COX’S OBJECTIONS AND RESPONSES TO PLAINTIFFS’
                          REQUESTS FOR PRODUCTION (SET TWO)


  REQUEST NO. 1 [67]

         Documents sufficient to show all Infringement Notices (from any rights holder) that

  identify or reference an IP address listed in any Infringement Notice from or on behalf of

  Plaintiffs. Such documents should include at least the following infringement details:

         • Date infringement detected
         • Date notice sent
         • Details of infringing work (i.e. title, artist, author, etc)
         • Filename of infringing work
         • Filesize of infringing work
         • Hash value of infringing work
         • IP address
         • IP port
         • Network used
         • Protocol used




                                                      3
Case 1:18-cv-00950-PTG-JFA Document 95-4 Filed 02/01/19 Page 5 of 17 PageID# 2313




          RESPONSE TO REQUEST NO. 1 [67]

          Cox objects that this request is overbroad, unduly burdensome, and seeks information

  that is outside the scope of permissible discovery because it is not relevant to any party's claim or

  defense, including because it seeks information about works and parties that are irrelevant to this

  case, because it seeks information about notices of claimed infringement submitted by or on

  behalf of non-parties, and to the extent it seeks documents outside Plaintiffs’ Claim Period. Cox

  further objects that this request is vague and ambiguous, including because an “IP address” does

  not reliably identify an individual, entity, or account holder. Cox further objects to this request as

  improperly calling for a legal conclusion because Cox cannot determine whether a notice that is

  submitted to Cox identifies or refers to an instance of copyright infringement. Cox further

  objects to this request to the extent that it is duplicative of other discovery requests that Plaintiffs

  have propounded, including without limitation Plaintiffs’ requests for production nos. 10, 11, 16,

  18-30, 33-35, 38-43, and 45, and Plaintiffs’ interrogatory no. 2. Cox further objects to this

  request to the extent it seeks information that is not in Cox’s possession, custody, or control.

  REQUEST NO. 2 [68]

          All sworn written statements by any Cox employee, agent or other person speaking on

  Cox’s behalf, concerning Cox’s policies and/or practices concerning copyright infringement on

  its network by its subscribers.

  RESPONSE TO REQUEST NO. 2 [68]

          Cox objects that this request is overbroad, unduly burdensome, and seeks information

  that is outside the scope of permissible discovery because it is not relevant to any party's claim or

  defense, including statements concerning issues, parties, and works not relevant to this case, and

  information that is not relevant to Cox’s policies that were in effect during Plaintiffs’ Claim


                                                     4
Case 1:18-cv-00950-PTG-JFA Document 95-4 Filed 02/01/19 Page 6 of 17 PageID# 2314




  Period. Cox further objects that the request fails to describer with reasonable particularity the

  discovery Plaintiffs seek. Cox further objects to the request to the extent it seeks discovery that

  can be obtained from some other source that is less burdensome, including to the extent it seeks

  documents that are publicly available or that are equally available to Plaintiffs, and to the extent

  Plaintiffs have already obtained the documents or information they purport to seek in documents

  that Cox has provided, including trial exhibits, deposition transcripts, and associated exhibits

  from the BMG Litigation. Cox further objects that the discovery sought is unreasonably

  cumulative or duplicative, including because it unnecessarily duplicates discovery that Plaintiffs

  have already propounded, including Plaintiffs’ requests for production nos. 4, 16, and 28.

  REQUEST NO. 3 [69]

         Defendants’ response to Interrogatory No. 3 in the BMG Litigation (including documents

  referenced therein and/or produced pursuant to Fed. R. Civ. P. 33(d)), which states: “Describe in

  detail, any policies and/or procedures concerning, referring, or relating to, Your process and

  protocol for reviewing, receiving and handling DMCA Notices between January 1, 2005 and the

  present, identify the periods of time during which the policies and procedures were in place, and

  identify the person(s) most knowledgeable about or responsible for these policies and/or

  procedures.”

  RESPONSE TO REQUEST NO. 3 [69]

         Cox objects that this request is overbroad, unduly burdensome, and seeks information

  that is outside the scope of permissible discovery because it is not relevant to any party's claim or

  defense, including because it seeks information concerning issues, parties, and works not

  relevant to this case, and because it seeks information that is not relevant to Cox’s policies and

  procedures that were in effect during Plaintiffs’ Claim Period, and because the fact that Cox



                                                    5
Case 1:18-cv-00950-PTG-JFA Document 95-4 Filed 02/01/19 Page 7 of 17 PageID# 2315




  responded to interrogatories served by plaintiffs in the BMG Litigation is irrelevant to this

  litigation. Cox further objects to the request as an improper attempt by Plaintiffs to avoid the

  limitations that the Federal Rules place on the number of interrogatories permitted in Federal

  litigation, and because the request ignores the Court’s admonition that Plaintiffs “have to plow

  [their] own road in this case.” See ECF No. 68. Cox will respond as appropriate to an

  interrogatory request by Plaintiffs that seeks information relevant to this case. Cox further

  objects to the request to the extent it seeks documents or information Plaintiffs have already

  obtained in documents that Cox has provided, including trial exhibits, deposition transcripts, and

  associated exhibits from the BMG Litigation. Cox further objects that the discovery sought is

  unreasonably cumulative or duplicative because it unnecessarily duplicates discovery that

  Plaintiffs have already propounded, including Plaintiffs’ requests for production nos. 4, 5, 15, 16,

  17, 20, 21, 23, 24, 26, 27, 28, and 33.

  REQUEST NO. 4 [70]

         Defendants’ response to Interrogatory No. 4 in the BMG Litigation, (including

  documents referenced therein and/or produced pursuant to Fed. R. Civ. P. 33(d)), which states:

  “Describe in detail Your policies and/or procedures since 2005 for notifying Your Customers or

  Users of any claim contained in a DMCA Notice, and identify the person(s) responsible for such

  notifications and the person(s) most knowledgeable about or responsible for these policies and/or

  procedures.”

  RESPONSE TO REQUEST NO. 4 [70]

         Cox objects that this request is overbroad, unduly burdensome, and seeks information

  that is outside the scope of permissible discovery because it is not relevant to any party's claim or

  defense, including because it seeks information concerning issues, parties, and works not



                                                    6
Case 1:18-cv-00950-PTG-JFA Document 95-4 Filed 02/01/19 Page 8 of 17 PageID# 2316




  relevant to this case, and because it seeks information that is not relevant to Cox’s policies and

  procedures that were in effect during Plaintiffs’ Claim Period, and because the fact that Cox

  responded to interrogatories served by plaintiffs in the BMG Litigation is irrelevant to this

  litigation. Cox further objects to the request as an improper attempt by Plaintiffs to avoid the

  limitations that the Federal Rules place on the number of interrogatories permitted in Federal

  litigation, and because the request ignores the Court’s admonition that Plaintiffs “have to plow

  [their] own road in this case.” See ECF No. 68. Cox will respond as appropriate to an

  interrogatory request by Plaintiffs that seeks information relevant to this case. Cox further

  objects to the request to the extent it seeks documents or information Plaintiffs have already

  obtained in documents that Cox has provided, including trial exhibits, deposition transcripts, and

  associated exhibits from the BMG Litigation. Cox further objects that the discovery sought is

  unreasonably cumulative or duplicative because it unnecessarily duplicates discovery that

  Plaintiffs have already propounded, including Plaintiffs’ requests for production nos. 4, 15, 20,

  21, 23, 26, 27, and 31.

  REQUEST NO. 5 [71]

         Defendants’ response to Interrogatory No. 6 in the BMG Litigation, (including

  documents referenced therein and/or produced pursuant to Fed. R. Civ. P. 33(d)), which states:

  “State the number of notices or communications You sent to Your Customers or Users notifying

  them of any claim contained in a DMCA Notice each month from January 1, 2010 to the present

  and identify the person(s) most knowledgeable about such notices or communications.

  RESPONSE TO REQUEST NO. 5 [71]

         Cox objects that this request is overbroad, unduly burdensome, and seeks information

  that is outside the scope of permissible discovery because it is not relevant to any party's claim or



                                                    7
Case 1:18-cv-00950-PTG-JFA Document 95-4 Filed 02/01/19 Page 9 of 17 PageID# 2317




  defense, including because it seeks information concerning issues, parties, and works not

  relevant to this case, and because it seeks information that is not relevant to Cox’s policies and

  procedures that were in effect during Plaintiffs’ Claim Period, and because the fact that Cox

  responded to interrogatories served by plaintiffs in the BMG Litigation is irrelevant to this

  litigation. Cox further objects to the request as an improper attempt by Plaintiffs to avoid the

  limitations that the Federal Rules place on the number of interrogatories permitted in Federal

  litigation, and because the request ignores the Court’s admonition that Plaintiffs “have to plow

  [their] own road in this case.” See ECF No. 68. Cox will respond as appropriate to an

  interrogatory request by Plaintiffs that seeks information relevant to this case. Cox further

  objects to the request to the extent it seeks documents or information Plaintiffs have already

  obtained in documents that Cox has provided, including trial exhibits, deposition transcripts, and

  associated exhibits from the BMG Litigation. Cox further objects that the discovery sought is

  unreasonably cumulative or duplicative because it unnecessarily duplicates discovery that

  Plaintiffs have already propounded, including Plaintiffs’ requests for production nos. 23 and 43,

  and interrogatory no. 4.

  REQUEST NO. 6 [72]

         Defendants’ response to Interrogatory No. 7 in the BMG Litigation, (including

  documents referenced therein and/or produced pursuant to Fed. R. Civ. P. 33(d)), which states:

  “Describe with particularity the types of penalties, including without limitation, termination,

  limitation, or suspension of Internet service, You have taken against Customers or Users who

  have been the subject of DMCA Notices, and identify the person(s) most knowledgeable about

  or responsible for such actions.”




                                                   8
Case 1:18-cv-00950-PTG-JFA Document 95-4 Filed 02/01/19 Page 10 of 17 PageID# 2318




  RESPONSE TO REQUEST NO. 6 [72]

         Cox objects that this request is overbroad, unduly burdensome, and seeks information

  that is outside the scope of permissible discovery because it is not relevant to any party's claim or

  defense, including because it seeks information concerning issues, parties, and works not

  relevant to this case, and because it seeks information that is not relevant to Cox’s policies and

  procedures that were in effect during Plaintiffs’ Claim Period, and because the fact that Cox

  responded to interrogatories served by plaintiffs in the BMG Litigation is irrelevant to this

  litigation. Cox further objects to the request as an improper attempt by Plaintiffs to avoid the

  limitations that the Federal Rules place on the number of interrogatories permitted in Federal

  litigation, and because the request ignores the Court’s admonition that Plaintiffs “have to plow

  [their] own road in this case.” See ECF No. 68. Cox will respond as appropriate to an

  interrogatory request by Plaintiffs that seeks information relevant to this case. Cox further

  objects to the request to the extent it seeks documents or information Plaintiffs have already

  obtained in documents that Cox has provided, including trial exhibits, deposition transcripts, and

  associated exhibits from the BMG Litigation. Cox further objects that the discovery sought is

  unreasonably cumulative or duplicative because it unnecessarily duplicates discovery that

  Plaintiffs have already propounded, including Plaintiffs’ requests for production nos. 4, 9, 15, 16,

  29, and 41, and interrogatories nos. 1, 5, and 9.

  REQUEST NO. 7 [73]

         Defendants’ response to Interrogatory No. 8 in the BMG Litigation, (including

  documents referenced therein and/or produced pursuant to Fed. R. Civ. P. 33(d)), which states:

  “State the number of Customers or Users whose Internet service You terminated, temporarily

  suspended, or otherwise adversely affected, on a per penalty basis, in response to a DMCA



                                                      9
Case 1:18-cv-00950-PTG-JFA Document 95-4 Filed 02/01/19 Page 11 of 17 PageID# 2319




  Notice(s) for each month from January 1, 2010 to the present, and identify the person(s) most

  knowledgeable about such penalties and the person(s) responsible for the implementation of such

  penalties.”

  RESPONSE TO REQUEST NO. 7 [73]

         Cox objects that this request is overbroad, unduly burdensome, and seeks information

  that is outside the scope of permissible discovery because it is not relevant to any party's claim or

  defense, including because it seeks information concerning issues, parties, and works not

  relevant to this case, and because it seeks information that is not relevant to Cox’s policies and

  procedures that were in effect during Plaintiffs’ Claim Period, and because the fact that Cox

  responded to interrogatories served by plaintiffs in the BMG Litigation is irrelevant to this

  litigation. Cox further objects to the request as an improper attempt by Plaintiffs to avoid the

  limitations that the Federal Rules place on the number of interrogatories permitted in Federal

  litigation, and because the request ignores the Court’s admonition that Plaintiffs “have to plow

  [their] own road in this case.” See ECF No. 68. Cox will respond as appropriate to an

  interrogatory request by Plaintiffs that seeks information relevant to this case. Cox further

  objects to the request to the extent it seeks documents or information Plaintiffs have already

  obtained in documents that Cox has provided, including trial exhibits, deposition transcripts, and

  associated exhibits from the BMG Litigation. Cox further objects that the discovery sought is

  unreasonably cumulative or duplicative because it unnecessarily duplicates discovery that

  Plaintiffs have already propounded, including Plaintiffs’ requests for production nos. 16, 20, 39,

  and 43, and interrogatories nos. 5 and 6.




                                                   10
Case 1:18-cv-00950-PTG-JFA Document 95-4 Filed 02/01/19 Page 12 of 17 PageID# 2320




  REQUEST NO. 8 [74]

            Defendants’ response to Interrogatory No. 10 in the BMG Litigation, (including

  documents referenced therein and/or produced pursuant to Fed. R. Civ. P. 33(d)), which states:

  “Identify any inquiry or effort by You to study, determine, or implement (a) possible

  technological barriers or other means or mechanisms for addressing, limiting or preventing

  copyright infringement by Your Customers or Users, including but not limited to slowing,

  suspending or terminating Your Internet service to Your Customers or Users or engaging in anti-

  piracy advertising or communications to Your Customers or Users and/or (b) the effects of such

  efforts on Your business, Your Customers or copyright infringement by Your Customers or

  Users.”

  RESPONSE TO REQUEST NO. 8 [74]

            Cox objects that this request is overbroad, unduly burdensome, and seeks information

  that is outside the scope of permissible discovery because it is not relevant to any party's claim or

  defense, including because it seeks information concerning issues, parties, and works not

  relevant to this case, and because it seeks information that is not relevant to Plaintiffs’ Claim

  Period, and because the fact that Cox responded to interrogatories served by plaintiffs in the

  BMG Litigation is irrelevant to this litigation. Cox further objects to the request as an improper

  attempt by Plaintiffs to avoid the limitations that the Federal Rules place on the number of

  interrogatories permitted in Federal litigation, and because the request ignores the Court’s

  admonition that Plaintiffs “have to plow [their] own road in this case.” See ECF No. 68. Cox will

  respond as appropriate to an interrogatory request by Plaintiffs that seeks information relevant to

  this case. Cox further objects to the request to the extent it seeks documents or information

  Plaintiffs have already obtained in documents that Cox has provided, including trial exhibits,



                                                   11
Case 1:18-cv-00950-PTG-JFA Document 95-4 Filed 02/01/19 Page 13 of 17 PageID# 2321




  deposition transcripts, and associated exhibits from the BMG Litigation. Cox further objects that

  the discovery sought is unreasonably cumulative or duplicative because it unnecessarily

  duplicates discovery that Plaintiffs have already propounded, including Plaintiffs’ requests for

  production nos. 4 and 41, and Plaintiffs’ interrogatories nos. 8 and 9.

  REQUEST NO. 9 [75]

         All documents referenced in Defendants’ response to Interrogatory No. 15 in the BMG

  Litigation. This request specifically includes “technical documents describing CATS, including

  documents bearing the production bates numbers COX_BMG00003173 – COX_BMG00003343

  and COX_BMG00001698 – COX_BMG00001708” and non-privileged portions of the “internal

  ‘wiki’ that describes CATS and its technical implementation.”

  RESPONSE TO REQUEST NO. 9 [75]

         Cox objects that this request is overbroad, unduly burdensome, and seeks information

  that is outside the scope of permissible discovery because it is not relevant to any party's claim or

  defense, including because it seeks information concerning issues, parties, and works not

  relevant to this case, and because it seeks information that is not relevant to Cox’s policies and

  procedures that were in effect during Plaintiffs’ Claim Period, and because the fact that Cox

  responded to interrogatories served by plaintiffs in the BMG Litigation is irrelevant to this

  litigation. Cox further objects to the request as an improper attempt by Plaintiffs to avoid the

  limitations that the Federal Rules place on the number of interrogatories permitted in Federal

  litigation, and because the request ignores the Court’s admonition that Plaintiffs “have to plow

  [their] own road in this case.” See ECF No. 68. Cox will respond as appropriate to an

  interrogatory request by Plaintiffs that seeks information relevant to this case. Cox further

  objects to the request to the extent it seeks documents or information Plaintiffs have already



                                                   12
Case 1:18-cv-00950-PTG-JFA Document 95-4 Filed 02/01/19 Page 14 of 17 PageID# 2322




  obtained in documents that Cox has provided, including trial exhibits, deposition transcripts, and

  associated exhibits from the BMG Litigation. Cox further objects that the discovery sought is

  unreasonably cumulative or duplicative because it unnecessarily duplicates discovery that

  Plaintiffs have already propounded, including Plaintiffs’ requests for production nos. 4, 7, 8

  and 24.

            Subject to and without waiving the foregoing general and specific objections, Cox

  responds that it will produce documents as set forth in its response to Plaintiffs’ request for

  production no. 7, including responsive, non-privileged technical documents sufficient to show

  the technical implementation or implementations of versions of CATS that were in use by Cox

  during Plaintiffs’ Claim Period, and versions of the CATS Abuse Automation System

  Implementation Plan concerning versions of CATS that were in use by Cox during Plaintiffs’

  Claim Period. Cox further responds that it will make available for inspection responsive source

  code for versions of CATS that were in use by Cox during Plaintiffs’ Claim Period as set forth in

  Cox’s response to Plaintiffs’ request for production no. 8.

  REQUEST NO. 10 [76]

            The document Defendants produced in response to Interrogatory No. 16 in the BMG

  Litigation that “identif[ies] copyright holders and/or copyright enforcement agencies that have

  developed and submitted communications compatible with Cox Communications’ automated

  procedures for handling complaints of copyright abuse.”

  RESPONSE TO REQUEST NO. 10 [76]

            Cox objects that this request is overbroad, unduly burdensome, and seeks information

  that is outside the scope of permissible discovery because it is not relevant to any party's claim or

  defense, including because it seeks information concerning notices, parties, and works not


                                                   13
Case 1:18-cv-00950-PTG-JFA Document 95-4 Filed 02/01/19 Page 15 of 17 PageID# 2323




  relevant to this case, and because it seeks information that is not relevant to Cox’s policies and

  procedures that were in effect during Plaintiffs’ Claim Period, and because the fact that Cox

  responded to interrogatories served by plaintiffs in the BMG Litigation is irrelevant to this

  litigation. Cox further objects to the request as an improper attempt by Plaintiffs to avoid the

  limitations that the Federal Rules place on the number of interrogatories permitted in Federal

  litigation, and because the request ignores the Court’s admonition that Plaintiffs “have to plow

  [their] own road in this case.” See ECF No. 68. Cox further objects to the request to the extent it

  seeks documents or information Plaintiffs have already obtained in documents that Cox has

  provided, including trial exhibits, deposition transcripts, and associated exhibits from the BMG

  Litigation. Cox will respond as appropriate to an interrogatory request by Plaintiffs that seeks

  information relevant to this case. Cox further objects that the discovery sought is unreasonably

  cumulative or duplicative.



  Dated: January 22, 2019                       s/ Michael S. Elkin
                                                Michael S. Elkin (pro hac vice)
                                                WINSTON & STRAWN LLP
                                                200 Park Avenue
                                                New York, NY 10166-4193
                                                Tel: (212) 294-6700
                                                Fax: (212) 294-4700
                                                Email: melkin@winston.com

                                                Thomas M. Buchanan (VSB No. 21530)
                                                WINSTON & STRAWN LLP
                                                1700 K Street, NW
                                                Washington, DC 20006-3817
                                                Tel: (202) 282-5787
                                                Fax: (202) 282-5100
                                                Email: tbuchana@winston.com

                                                Attorneys for Defendants Cox Communications, Inc.
                                                and CoxCom, LLC




                                                   14
Case 1:18-cv-00950-PTG-JFA Document 95-4 Filed 02/01/19 Page 16 of 17 PageID# 2324




  Of Counsel for Defendants

  Thomas Patrick Lane (pro hac vice)
  WINSTON & STRAWN LLP
  200 Park Avenue
  New York, NY 10166-4193
  Tel: (212) 294-6700
  Fax: (212) 294-4700
  Email: tlane@winston.com

  Jennifer A. Golinveaux (pro hac vice)
  WINSTON & STRAWN LLP
  101 California Street, 35th Floor
  San Francisco, CA 94111-5840
  Tel: (415) 591-1000
  Fax: (415) 591-1400
  Email: jgolinveaux@winston.com

  Diana Hughes Leiden (pro hac vice)
  WINSTON & STRAWN LLP
  333 S. Grand Avenue, Suite 3800
  Los Angeles, CA 90071
  Tel: (213) 615-1700
  Fax: (213) 615-1750
  Email: dhleiden@winston.com




                                          15
Case 1:18-cv-00950-PTG-JFA Document 95-4 Filed 02/01/19 Page 17 of 17 PageID# 2325




                                    CERTIFICATE OF SERVICE



           I am a resident of the State of California, over the age of eighteen years, and not a party

  to the within action. My business address is Winston & Strawn LLP, 101 California Street, San

  Francisco, CA 94111-5840. On January 22, 2019, I served the following documents:


           COX’S OBJECTIONS AND RESPONSES TO PLAINTIFFS’ SECOND SET OF
           REQUESTS FOR PRODUCTION OF DOCUMENTS AND THINGS TO
           DEFENDANTS

           COX’S OBJECTIONS AND RESPONSES TO PLAINTIFFS’ SECOND SET OF
           INTERROGATORIES TO DEFENDANTS (NOS. 1-4 [NOS. 13-16])



  pursuant to the written agreement of the parties to be served by electronic means, by email to

  Plaintiffs’ counsel as follows:


                  Jeffrey M. Gould, Oppenheim + Zebrak, LLP
                  Email: jeff@oandzlaw.com


           I declare under penalty of perjury under the laws of the State of California that the above

  is true and correct.



  Signed:
            Thomas J. Kearney

  Dated:    January 22, 2019




                                                    16
